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  Attorney for Plaintiff
  HB Productions, Inc.

                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

   HB Productions, Inc.,                   )   Case No.: 1:19-cv-389-ACK-KJM
                                           )   (Copyright)
                     Plaintiff,            )
      vs.                                  )   RULE 55(a) REQUEST FOR CLERK
                                           )   TO ENTER DEFAULT AGAINST
   JOHN DOE dba YTS et. al.                )   JOHN DOE dba YTS;
                                           )   DECLARATION OF COUNSEL;
                     Defendants.           )   CERTIFICATE OF SERVICE
                                           )
                                           )
                                           )
                                           )

                REQUEST FOR CLERK TO ENTER DEFAULT AGAINST
                     DEFENDANT JOHN DOE dba YTS


  TO: CLERK OF THE ABOVE-ENTITLED COURT:

        Pursuant to Fed R. Civ. P. 55(a), Plaintiff HB Productions, Inc. (“Plaintiff”)

  hereby applies for entry of default by the Clerk of the Court against Defendant JOHN

  DOE dba YTS (Senthil Vijay Segaran and Techmodo Limited). Senthil Vijay


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  Segaran and Techmodo Limited are identified as JOHN DOE dba YTS in the

  Complaint. Defendant JOHN DOE dba YTS was effected service by personally

  delivering a copy of the Complaint and Summons to the agent of Techmodo Limited

  on September 4, 2019 [Doc. #21] and to Senthil Vijay Segaran on September 20,

  2019 [Doc. #22] by mailing to his address of record. See Affidavit of Fergus Carson-

  Williams [Doc. #21-2].

        Defendant JOHN DOE dba YTS (Senthil Vijay Segaran and Techmodo,

  Limited)’s responsive pleading was due on or before October 11, 2019. Defendant

  JOHN DOE dba YTS (Senthil Vijay Segaran and Techmodo, Limited) has failed to

  appear or otherwise defend.

        For these reasons, Plaintiff request that the Clerk of the Court enter default

  judgment on all claims plead in the Complaint with regards to Defendant JOHN

  DOE dba YTS (Senthil Vijay Segaran and Techmodo, Limited).

        DATED: Kailua-Kona, Hawaii, October 16, 2019.



                                  CULPEPPER IP, LLLC


                                  /s/ Kerry S. Culpepper
                                  Kerry S. Culpepper

                                  Attorney for Plaintiff




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